                Case 8:19-bk-12401-ES                     Doc 1 Filed 06/21/19 Entered 06/21/19 10:55:46                                     Desc
                                                          Main Document     Page 1 of 57
Fill in this information to identify your case:


United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number or known)                                                        Chapter you are filing under:

                                                                              ■ Chapter 7
                                                                              □ Chapter 11
                                                                              □ Chapter 12
                                                                              □ Chapter 13                                   □ Check if this an
                                                                                                                               amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                             12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a Joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car," the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2, The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


           Identify Yourself

                                    About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on      Danelle
      your government-issued        First name                                                    First name
      picture identification (for
      example, your driver's        Elaine
      license or passport).
                                    Middle name                                                   Middle name

      Bring your picture
      identification to your        Chapman
      meeting with the trustee.     Last name and Suffix (Sr., Jr., II, I                         Last name and Suffix (Sr., Jr., II, III)




     All other names you have
     used in the last 8 years
      Include your married or
      maiden names.




      Only the last 4 digits of
      your Sociai Security
      number or federal             xxx-xx-9045
      Individual Taxpayer
      Identification number
      (ITIN)




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                           page 1
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                                                          Main Document     Page 2 of 57Case number (ifknown)
Debtor 1   Danelle Elaine Chapman




                                 About Debtor 1:                                               About Debtor 2(Spouse Only Iri a Joint Case); -

     Any business names and
     Employer Identification
     Numbers(BIN) you have          I have not used any business name or EINs.                 □ I have not used any business name or EINs.
     used In the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:


                                 1845 Monrovia Ave #12
                                 Costa Mesa. CA 92627
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Orange
                                 County                                                        County

                                 If your mailing address Is different from the one             If Debtor 2's mailing address Is different from yours, fill It
                                 above, fill It In here. Note that the court will send any     In here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,    □      Over the last 180 days before filing this petition, I
                                        I have lived In this district longer than In any              have lived in this district longer than In any other
                                        other district.                                               district.


                                        I have another reason.                                 n      I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                              Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 2
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Debtor 1    Danelle Elaine Chapman                                                                       Case number (if known)



           Tell the Court About Your Bankruptcy Case

7.    The chapter of the      Check one.(For a brief description of each, see Notice Required by 11 U.S.C.§342(b)for individuais Fiiing for Bankruptcy
      Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      choosing to file under      _
                                 ■ Chapter?
                                  □ Chapter 11
                                  □ Chapter 12
                                  □ Chapter 13


8.    How you will pay the fee           i will pay the entire fee when i file my petition. Please check with the clerk's office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         i need to pay the fee in installments. If you choose this option, sign and attach the Appiication for Individuals to Pay
                                         The Filing Fee in installments (Official Form 103A).
                                         i request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for          g
      bankruptcy within the
      last 8 years?               □ Yes.
                                              District                                 When                             Case number

                                              District                                 When                             Case number

                                              District                                 When                             Case number




10. Are any bankruptcy            ■ No
    cases pending or being
    filed by a spouse who is      □ Yes.
    not filing this case with
    you, or by a business
    partner, or by an
      affiliate?

                                              Debtor                                                                   Relationship to you
                                              District                                 When                            Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                 When                            Case number, if known



11.   Do you rent your            □ no.        Go to line 12.
      residence?
                                  B Yes.       Has your landlord obtained an eviction judgment against you?

                                                H        No. Goto line 12.
                                               □         Yes. F\\\ out initial Statement About an Eviction Judgment Against You {Form 101A)andfiie Itwiththis
                                                         bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuais Filing for Bankruptcy                                                    page 3
               Case 8:19-bk-12401-ES                 Doc 1 Filed 06/21/19 Entered 06/21/19 10:55:46                                   Desc
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Debtor 1    Danelle Elaine Chapman                                                                       Case number orknown)



           Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time     ■ No.      Go to Part 4.
    business?

                                  □ Yes.     Name and location of business

    A sole proprietorship is a
    business you operate as                  Name of business, if any
    an individual, and is not a
    separate legal entity such
    as a corporation,
    partnership, or LLC.
                                             Number, Street, City, State & ZIP Code
    If you have more than one
    sole proprietorship, use a
    separate sheet and attach
    it to this petition.                     Check the appropriate box to describe your business:
                                             □       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             □       Single Asset Real Estate (as defined in 11 U.S.C. § 101(518))
                                             □       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             □       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             □       None of the above

13. Are you filing under    if you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the       deadlines, if you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business    in 11 U.S.C. 1116(1)(B).
     debtor?
                                  ■ No.      I am not filing under Chapter 11.
     For a definition of small
    business debtor, see 11
                                  □ No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. §101(510).
                                             Code.

                                  □ Yes.     ' 3"^ filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


           Report if You Own or Have Any Hazardous Property or Any Property That Needs immediate Attention

14. Do you own or have any        ■ No.
    property that poses or is
    alleged to pose a threat      □ Yes.
     of imminent and                       What is the hazard?
     identifiable hazard to
     public health or safety?
     Or do you own any
     property that needs                   If immediate attention is
     immediate attention?                  needed, why is it needed?

    For example, do you own
    perishable goods, or
    livestock that must be fed,            Where is the property?
    or a building that needs
    urgent repairs?
                                                                         Number, Street, City, State & Zip Code




Official Form 101                           Voluntary Petition for individuals Filing for Bankruptcy                                                 page 4
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Debtor 1     Danelle Elaine Chapman                                                                   Case number (if known)

            Explain Your Efforts to Receive a Briefing About Credit Counseling

                                  About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
15. Teii the court whether        You must check one:                                             You must check one:
    you have received a           B   i received a briefing from an approved credit               □   I received a briefing from an approved credit
    briefing about credit             counseling agency within the 180 days before 1                  counseling agency within the 180 days before I filed
    counseling.                       filed this bankruptcy petition, and I received a                this bankruptcy petition, and I received a certificate of
                                      certificate of completion.                                      completion.
    The law requires that you
    receive a briefing about          Attach a copy of the certificate and the payment                Attach a copy of the certificate and the payment plan, if
    credit counseling before          plan, if any, that you developed with the agency.               any, that you developed with the agency.
    you file for bankruptcy.
    You must truthfully check     □   I received a briefing from an approved credit               □   i received a briefing from an approved credit
    one of the following              counseling agency within the 180 days before I                  counseling agency within the 180 days before I filed
    choices, if you cannot do         filed this bankruptcy petition, but I do not have               this bankruptcy petition, but i do not have a certificate
    so, you are not eligible to       a certificate of completion.                                    of completion.
    file.                                                                                   III
                                      Within 14 days after you file this bankruptcy                   Within 14 days after you file this bankruptcy petition, you
    if you file anyway, the court     petition, you MUST file a copy of the certificate and           MUST file a copy of the certificate and payment plan, if
    can dismiss your case, you        payment plan, if any.                                           any.
    will lose whatever filing fee
    you paid, and your            □   I certify that I asked for credit counseling                    i certify that i asked for credit counseiing services
    creditors can begin               services from an approved agency, but was                       from an approved agency, but was unabie to obtain
    collection activities again.      unable to obtain those services during the 7                    those services during the 7 days after I made my
                                      days after I made my request, and exigent                       request, and exigent circumstances merit a 30-day
                                      circumstances merit a 30-day temporary waiver                   temporary waiver of the requirement.
                                      of the requirement.
                                                                                                      To ask for a 30-day temporary waiver of the requirement,
                                      To ask for a 30-day temporary waiver of the                     attach a separate sheet explaining what efforts you made
                                      requirement, attach a separate sheet explaining                 to obtain the briefing, why you were unable to obtain it
                                      what efforts you made to obtain the briefing, why               before you filed for bankruptcy, and what exigent
                                      you were unable to obtain it before you filed for               circumstances required you to file this case.
                                      bankruptcy, and what exigent circumstances
                                      required you to file this case.                                 Your case may be dismissed if the court is dissatisfied
                                                                                                      with your reasons for not receiving a briefing before you
                                      Your case may be dismissed if the court is                      filed for bankruptcy.
                                      dissatisfied with your reasons for not receiving a
                                      briefing before you filed for bankruptcy.                       If the court is satisfied with your reasons, you must still
                                      If the court is satisfied with your reasons, you must           receive a briefing within 30 days after you file. You must
                                      still receive a briefing within 30 days after you file.         file a certificate from the approved agency, along with a
                                      You must file a certificate from the approved                   copy of the payment plan you developed, if any. If you do
                                      agency, along with a copy of the payment plan you               not do so, your case may be dismissed.
                                      developed, if any. If you do not do so, your case
                                                                                                      Any extension of the 30-day deadline is granted only for
                                      may be dismissed.
                                                                                                      cause and is limited to a maximum of 15 days.
                                      Any extension of the 30-day deadline is granted
                                      only for cause and is limited to a maximum of 15
                                      days.
                                      I am not required to receive a briefing about                   I am not required to receive a briefing about credit
                                      credit counseiing because of:                                   counseling because of:

                                       □     incapacity.                                              □      Incapacity.
                                             I have a mental illness or a mental deficiency ~                I have a mental illness or a mental deficiency that
                                             that makes me incapable of realizing or                         makes me incapable of realizing or making rational
                                             making rational decisions about finances.                       decisions about finances.


                                       n     Disability.                                              □      Disability.
                                             My physical disability causes me to be                          My physical disability causes me to be unable to
                                             unable to participate in a briefing in person,                  participate in a briefing in person, by phone, or
                                             by phone, or through the internet, even after I                 through the internet, even after I reasonably tried to
                                             reasonably tried to do so.                                      do so.


                                       □     Active duty.                                             □      Active duty.
                                             I am currently on active military duty in a                     I am currently on active military duty in a military
                                             military combat zone.                                           combat zone.

                                       If you believe you are not required to receive a               If you believe you are not required to receive a briefing
                                       briefing about credit counseling, you must file a              about credit counseling, you must file a motion for waiver
                                       motion for waiver credit counseling with the court.            of credit counseling with the court.




Official Form 101                            Voiuntary Petition for Individuals Filing for Bankruptcy                                                     page 5
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Debtor 1     Danelle Elaine Chapman                                                                        Case number (nknown)

           Answer These Questions for Reporting Purposes

16. What kind of debts do         16a.       Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an
      you have?                              individual primarily for a personal, family, or household purpose."
                                             □ No. Go to line 16b.

                                             B Yes. Go to line 17.
                                  16b.       Are your debts primarily business debts? Business debts are debts that you Incurred to obtain
                                             money for a business or investment or through the operation of the business or investment.
                                             □ No. Go to line 16c.

                                             □ Yes. Go to line 17.
                                  16c.       State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under          □ No.      i am not filing under Chapter 7. Go to line 18.
      Chapter 7?

      Do you estimate that          I Yes.
                                             I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
      after any exempt                       are paid that funds will be available to distribute to unsecured creditors?
      property is excluded and
      administrative expenses                ■ No
      are paid that funds will
      be available for                       □ Yes
      distribution to unsecured
      creditors?


18.   How many Creditors do       ■ 1-49                                          □ 1,000-5,000                                □ 25,001-50,000
      you estimate that you                                                       □ 5001-10,000                                □ 50,001-100,000
      owe?                        □ 50-99
                                  □ 100-199                                       □ 10,001-25,000                              □ More thani 00,000
                                  □ 200-999

19.   How much do you             ■   $0 - $50,000                                □   $1,000,001 -$10 million                  □   $500,000,001 - $1 billion
      estimate your assets to                                                     □   $10,000,001 -$50 million                 □   $1,000,000,001 -$10 billion
      be worth?
                                  □   $50,001 -$100,000
                                  □   $100,001 -$500,000                          □   $50,000,001 - $100 million               □   $10,000,000,001 - $50 billion
                                  □   $500,001 - $1 million                       □   $100,000,001 -$500 million               □   More than $50 billion

20.   How much do you             □ $0 - $50,000                                  □   $1,000,001 -$10 million                  □ $500,000,001 - $1 billion
      estimate your liabilities
                                  □ $50,001 -$100,000                             □   $10,000,001 -$50 million                 □ $1,000,000,001 -$10 billion
      to be?
                                  ■ $100,001 -$500,000                            □   $50,000,001 -$100 million                □ $10,000,000,001 - $50 billion
                                  □ $500,001 - $1 million                         □   $100,000,001 - $500 million              □ More than $50 billion


           Sign Below

For you                           I have examined this petition, and I declare under penalty of perjury that the information provided Is true and correct.

                                  If I have chosen to file under Chapter 7, 1 am aware that I may proceed. If eligible, under Chapter 7, 11,12, or 13 of title 11,
                                  United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                  If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                  document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                  I request relief in accordance with the chapter of title 11, United States Code, specified In this petition.

                                  I understapd-making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                  bankrupt^ casd can result In fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,1341, 1519,
                                  Isl Danelle
                                  Danelle Elaine Chapman                                            Signature of Debtor 2
                                  Signature of Debtor 1

                                  Executed on     June 19, 2019                                     Executed on
                                                  MM /DD/YYYY                                                       MM/DD/YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
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Debtor 1   Danelle Elaine Chapman
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For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7,11,12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. 1 also certify that I have delivered to the debtor(s)the notice required by 11 U.S.C.§ 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                Isl Daniel King                                                    Date       June 19, 2019
                                Signature of Attorney for Debtor                                              MM/DD/YYYY


                                Daniel King
                                Printed name

                                The Attorney Group
                                Firm name

                                3435WilshireBlvd
                                Suite 1111
                                Los Angeles, CA 90010
                                Number, Street, City, State & ZIP Code

                                Contact phone    213-388-3887                                Email address       dking@theattorneygroup.com
                                207911 CA
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
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                                                 STATEMENT OF RELATED CASES
                                          INFORMATION REQUIRED BY LBR 1015-2
              UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
   against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
   copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
   corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
   and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
   assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
   included in Schedule A/B that was filed with any such prior proceeding(s).)
Filed chapter 7 bankruptcy on 2/23/2009. Case #8;2009bk11450. Closed 9/2/2011.
Filed chapter 7 bankruptcy on 1/12/2010. Case #8:201 Obk10358. Closed 6/24/2010.

2. (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
   Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
   debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
   debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
   complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
   and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list
   any real property included in Schedule A/B that was filed with any such prior proceeding(s).)
 None

3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
   previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
   of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
   of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
   or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
   such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
   still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule
   A/B that was filed with any such prior proceeding(s).)
 None

4. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
   been filed by or against the debtor within the last 180 days:(Set forth the complete number and title of each such prior
   proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
   pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A/B
   that was filed with any such prior proceeding(s).)
 None

I declare, under penalty of perjury, that the foregoing is true and correct.
Executed at Los Angeles                                           , California.                     /s/ Danelle Elaine Chapman
                                                                                                    Danelle Elaine Chapman
Date:           June 19,2019                                                                    —Signature of Debtor 1



                                                                                                     Signature of Debtor 2




                 This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

0ctober2018                                                             Page 1               F 1015-2.1.STMT.RELATED.CASES
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 Fill in this information to identify your case:

 Debtor 1                Daneile Elaine Chapman
                         First Name                       Middie Name            Last Name

Debtor 2
(Spouse if, filing)      First Name                       Middle Name            Last Name


 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                      □ Check if this is an
                                                                                                                                   amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

               Summarize Your Assets

                                                                                                                                   Your assets
                                                                                                                                   Value of what you own

 1.    Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B                                                                      $
        lb. Copy line 62, Total personal property, from Schedule A/B                                                                $                 6,318.96
        1c. Copy line 63, Total of all property on Schedule A/B                                                                     $                 6,318.96

               Summarize Your Liabilities


                                                                                                                                   Your liabilities
                                                                                                                                   Amount you owe

 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D..                                0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.                                                     0.00


       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F..                                        138,953.00


                                                                                                        Your total liabilities                 138,953.00


              I Summarize Your Income and Expenses

 4.    Schedule I: Your Income (Official Form 1061)
       Copy your combined monthly income from line 12 of Schedule I                                                                 $                 2,288.50

 5.    Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J                                                                       $                 2,318.50

              I Answer These Questions for Administrative and Statistical Records

 6.    Are you filing for bankruptcy under Chapters 7,11, or 13?
       □      No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

        ■     Yes
 7.    What kind of debt do you have?

       I Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal, family, or
         household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

       □ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
              the court with your other schedules.
 Official Form 106Sum                 Summary of Your Assets and Liabilities and Certain Statistical Information                          page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC-www.bestcase.com                                                                          Best Case Bankruptcy
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  Debtor 1      Danelle Elaine Chapman
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                                                                                          Case number (if known)

  8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
        122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                   0.00



 9.     Copy the following special categories of claims from Part 4, line 6 of Schedule EJF:

                                                                                                      Total claim
        From Part 4 on Schedule E/F, copy the following:

        9a. Domestic support obligations(Copy line 6a.)                                               $                 0.00

        9b. Taxes and certain other debts you owe the government.(Copy line 6b.)                                        0.00

        9c. Claims for death or personal injury while you were intoxicated.(Copy line 6c.)            $                 0.00

       9d. Student loans.(Copy line 6f.)                                                              $                 0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
             priority claims.(Copy line 6g.)                                                          $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts.(Copy line 6h.)         +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                                            0.00




Official Form 106Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information            page 2 of 2
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             Case 8:19-bk-12401-ES                         Doc 1 Filed 06/21/19 Entered 06/21/19 10:55:46                                      Desc
                                                           Main Document    Page 11 of 57
 Fill in this information to identify your case and this filing:

 Debtor 1                Danelle Elaine Chapman
                         First Name                       Middle Name                    Last Name

 Debtor 2
(Spouse, tf filing)      First Name                       Middle Name                    Last Name


 United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA

 Case number                                                                                                                               □     Check If this Is an
                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                          12/15
In each category, separately list and describe Items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information, if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

            Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an interest in

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

   ■ No. Go to Part 2.
   n Yes. Where is the property?

ISBWl Describe Your Vehicles

Do you own, lease, or have legal or equitable Interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report It on Schedule G: Executory Contracts and Unexplred Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   □ No
   ■ Yes


  3.1     Make:       Mercedes Benz                          Who has an interest in the property? Check one       Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
          Model:      C230K                                   ■ Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
          Year:       2002                                    D Debtor 2 only                                     Current vaiue of the       Current vaiue of the
          Approximate mileage:                   75K          D Debtor 1 and Debtor 2 only                        entire property?           portion you own?
          Other information:                                  D At least one of the debtors and another
          FMV per KBB
          Debtor owns free and clear                          □ Check If this is community property                         $3,016.00                   $3,016.00
                                                                   (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   ■ No
   □ Yes



 5 Add the dollar value of the portion you own for aii of your entries from Part 2, including any entries for
    .pages you have attached for Part 2. Write that number here                                                              =>                     $3,016.00


            Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following items?                                                        Current vaiue of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    n No
Official Form 106A/B                                           Schedule A/B: Property                                                                          page 1
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Debtor 1        Danelle Elaine Chapman                                                               Case number (if known)


      I Yes. Describe..

                                   Household Furniture and Electronics                                                                              $400.00


7. Electronics
    Examples:Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                 including cell phones, cameras, media players, games
   ■ No
    □ Yes. Describe

8. Collectibles of value
    Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                  other collections, memorabilia, collectibles
    ■ No
    □ Yes. Describe

9. Equipment for sports and hobbles
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
                  musical instruments

    ■ No
    □ Yes. Describe

10. Firearms
      Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    ■ No
    □ Yes. Describe

11. Clothes
      Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    □ No
    ■ Yes. Describe

                                   All Clothes                                                                                                      $100.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    ■ No
    □ Yes. Describe

13. Non-farm animals
      Examples: Dogs, cats, birds, horses
    ■ No
    □ Yes. Describe

14. Any other personal and household Items you did not already list, Including any health aids you did not list
    ■ No
    □ Yes. Give specific information


 15. Add the dollar value of all of your entries from Part 3, Including any entries for pages you have attached
       for Part 3. Write that number here                                                                                                       $500.00


          Describe Your Financial Assets

 Do you own or have any legal or equitable Interest In any of the following?                                                        Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

16. Cash
      Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    ■ No
    □ Yes
Official Form 106A/B                                               Schedule A/B: Property                                                               page?
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 Debtor 1       Danelle Elaine Chapman                                                                        Case number f/f/cnown;

17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
               institutions. If you have multiple accounts with the same institution, list each.
   □ No
    H Yes                                                                   Institution name:

                                      17.1.     Checking                    Chase Checking Account #3979                                            $2,802.96


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    ■ No
    □ Yes                                     Institution or issuer name:

19. Non-publiciy traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
    ■ No
    □ Yes. Give specific information about them
                                         Name of entity:                                                       % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable Instruments are those you cannot transfer to someone by signing or delivering them.
    ■ No
    n Yes. Give specific information about them
                                         Issuer name:


21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401 (k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    ■ No
    □ Yes. List each account separately.
                                      Type of account:                      Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    ■ No
    □ Yes                                                                   Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    ■ No
    □ Yes                       Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    ■ No
    □ Yes                       Institution name and description. Separately file the records of any interests.11 U.S.C. § 521 (c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    ■ No
    □ Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    ■ No
    □ Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    ■ No
    □ Yes. Give specific information about them...

 Money or property owed to you?                                                                                                        Current value of the
Official Form 106A/B                                                 Schedule A/B: Property                                                               page 3
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                                                                                         Case number (if known)
Debtor 1        Danelle Elaine Chapman

                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you
    ■ No
   n Yes. Give specific information about them, including whether you already filed the returns and the tax years..


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    ■ No
    □ Yes. Give specific information


30. Other amounts someone owes you
      Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation. Social Security
                   benefits; unpaid loans you made to someone else
    ■ No
    □ Yes. Give specific information..

31. Interests in insurance policies
      Examples: Health, disability, or life insurance; health savings account (MSA); credit, homeowner's, or renter's insurance
    ■ No
    □ Yes. Name the insurance company of each policy and list its value.
                                         Company name:                                              Beneficiary:                      Surrender or refund
                                                                                                                                      value:


32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
      someone has died.

    ■ No
    □ Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
    ■ No
    □ Yes. Describe each claim

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    ■ No
    □ Yes. Describe each claim

35. Any financial assets you did not already list
    ■ No
    □ Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here                                                                                                       $2,802.96


mm Describe Any Business-Related Property You Own or Have an Interest In. List any real estate In Part 1.

37. Do you own or have any legal or equitable Interest in any business-related property?
   H No. Go to Part 6.
   □ Yes. Go to line 38.



          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
          If you own or have an interest In farmland, list It In Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
    ■ No. Go to Part 7.
      □ Yes. Go to line 47.
Official Form 106A/B                                                       Schedule A/B: Property                                                         page 4
Software Copyright (c) 1996-2019 Best Case, LLC-www.bestcase.com                                                                               Best Case Bankruptcy
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                                                            Main Document    Page 15 of 57
Debtor 1        Danelle Elaine Chapman                                                               Case number (ifknown)


                Describe All Property You Own or Have an interest In That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples:Season tickets, country club membership
    ■ No
    □ Yes. Give specific information

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....                                                  $0.00


               List the Totals of Each Part of this Form


55.    Part 1: Total real estate, line 2                                                                                                       $0.00
56.    Part 2: Total vehicles, line 5                                                   $3,016.00
57.    Part 3: Total personal and household Items, line 15                                $500.00
58.    Part 4: Total financial assets, line 36                                          $2,802.96
59.    Part 5: Total business-related property, line 45                                     $0.00
60.    Part 6: Total farm- and fishing-related property, line 52                            $0.00
61.    Part 7: Total other property not listed, line 54                       +             $0.00

62. Total personal property. Add lines 56 through 61...                                 $6,318.96   Copy personal property total          $6,318.96

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                     $6,318.96




Official Form 106A/B                                                 Schedule A/B: Property                                                     page 5
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             Case 8:19-bk-12401-ES                          Doc 1 Filed 06/21/19 Entered 06/21/19 10:55:46                                Desc
                                                            Main Document    Page 16 of 57
 Fill in this information to identify your case:

 Debtor 1                Danelle Elaine Chapman
                         First Name                        Middle Name                 Last Name

 Debtor 2
(Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:             CENTRAL DISTRICT OF CALIFORNIA

 Case number
(if known)                                                                                                                        □ Check If this is an
                                                                                                                                    amended filing


Official Form 106C
Schedule C; The Property You Claim as Exempt                                                                                                              4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions^such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

               Identify the Property You Claim as Exempt
 1. Which set of exemptions are you claiming? Check one only, even if your spouse Is filing with you.

      B You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      □ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.




                                                              Schedule fiJB

      2002 Mercedes Benz C230K 75K
                                                                      $3,016.00                               $3,016.00     C.C.P.§ 703.140(b)(2)
      miles
      FMV per KBB                                                                  ^     100% of fair market value, up to
      Debtor owns free and clear                                                         any applicable statutory limit
      Line from Schedule AJB\ 3.1


      Household Furniture and Electronics
                                                                         $400.00   ■                            $400.00     C.C.P. § 703.140(b)(3)
      Line from Schedule A/B: 6.1         —
                                                                                   □     100% of fair market value, up to
                                                                                         any applicable statutory limit

      Ail Clothes
                                                                         $100.00   ■                            $100.00     C.C.P. § 703.140(b)(3)
      Line from Schedule A/B: 11.1                           —
                                                                                   □     100% of fair market value, up to
                                                                                         any applicable statutory limit

      Checking: Chase Checking Account                               $2,802.96                                $2,802.96     C.C.P. § 703.140(b)(5)
                                                                                   ■
      #3979
      Line from Schedule A/B: 17.1                                                 □     100% of fair market value, up to
                                                                                         any applicable statutory limit




Official Form 106G                                     Schedule 0: The Property You Claim as Exempt                                                  page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC -www.bestcase.com                                                                             Best Case Bankruptcy
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 Debtor 1    Danelle Elaine Chapman                                                             Case number (if known)
 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
      ■     No

      □     Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
            □       No
            □       Yes




Official Form 106C                                      Scheduie C: The Property You Ciaim as Exempt                              page 2 of 2
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             Case 8:19-bk-12401-ES                         Doc 1 Filed 06/21/19 Entered 06/21/19 10:55:46                                   Desc
                                                           Main Document    Page 18 of 57
 Fill In this information to identify your case:

 Debtor 1                Danelle Elaine Chapman
                         First Name                        Middle Name            Last Name

Debtor 2
(Spouse if, filing)      First Name                        Middle Name            Last Name


 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number
(if known)                                                                                                                         □ Check If this Is an
                                                                                                                                       amended filing

Official Form 106D
Schedule D; Creditors Who Have Claims Secured by Property                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information, if more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?

      B No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      □ Yes. Fill In all of the Information below.




Official Form 106D                              Schedule D: Creditors Who Have Claims Secured by Property                                              page 1 of 1
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               Case 8:19-bk-12401-ES                          Doc 1 Filed 06/21/19 Entered 06/21/19 10:55:46                                                  Desc
                                                              Main Document    Page 19 of 57
 Fill in this information to identify your case:

 Debtor 1                   Danelle Elaine Chapman
                            First Name                       Middle Name                         Last Name

Debtor 2
(Spouse if, filing)         First Name                       Middle Name                         Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                                        □ Check if this is an
                                                                                                                                                     amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and case
number (if known).
                 List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

       H No. Go to Part 2.
       □ Yes.

                List All of Your NONPRIORITY Unsecured Claims

 3.    Do any creditors have nonpriority unsecured claims against you?

       n No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       H Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority unsecured
       claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more than one
       creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured claims fill out the Continuation Page of Part 2.
                                                                                                                                                           Total claim

 4.1          Account Management Ser                                 Last 4 digits of account number         4740                                                         $402.00
              Nonpriority Creditor's Name
              6101 Ball Rd Ste 207                                   When was the debt incurred?             Opened 02/13
              Cypress, CA 90630
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                                                                     □ Contingent
              H Debtor 1 only
                                                                     G Unliquidated
              D Debtor 2 only
                                                                     □ Disputed
              D Debtor 1 and Debtor 2 only                           Type of NONPRIORITY unsecured claim:
              □ At least one of the debtors and another              □ Student loans
              D Check If this claim is for a community debt          □ Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                        report as priority claims

              ■ No                                                   □ Debts to pension or profit-sharing plans, and other similar debts
                                                                                           Collection Attorney Orange County
              □ Yes                                                  ■ other. Specify Diagnostics




Official Form 106 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 1 of 13
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 Debtor 1 Danelle Elaine Chapman
                                                             Main Document    PageCase
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                                                                                       number (if known)

4.2       Barclays Bank Delaware                                     Last 4 digits of account number       4850                                             $2,663.00
          Nonprlorlty Creditor's Name
                                                                                                           Opened 10/14 Last Active
          P.O. Box 8803                                              When was the debt incurred?           4/08/18
          Wilmington, DE 19899
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                     □ Contingent
           H Debtor 1 only
                                                                     G Unliquidated
           □ Debtor 2 only
                                                                     □ Disputed
           □ Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           □ At least one of the debtors and another                 □ Student loans
           D Check if this ciaim is for a community debt             □ Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

           ■ No                                                      □ Debts to pension or profit-sharing plans, and other similar debts
           □ Yes                                                     Bi Other. Specify Credit Card

 4.3       Barclays Bank Delaware                                    Last 4 digits of account number       9908                                             $2,236.00
           Nonpriority Creditor's Name
                                                                                                           Opened 08/16 Last Active
           P.O. Box 8803                                             When was the debt incurred?           4/04/18
          Wilmington, DE 19899
           Number Street City State Zip Code                         As of the date you file, the ciaim is: Check all that apply
          Who incurred the debt? Check one.
                                                                     □ Contingent
           H Debtor 1 only
                                                                     □ Unliquidated
           □ Debtor 2 only
                                                                     □ Disputed
           □ Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured ciaim:
           □ At least one of the debtors and another                 □ Student loans
           □ Check if this ciaim is for a community debt             □ Obligations arising out of a separation agreement or divorce that you did not
           is the claim subject to offset?                           report as priority claims

           B No                                                      □ Debts to pension or profit-sharing plans, and other similar debts
           □ Yes                                                     B Other. Specify Credit Card

 4.4       Capital One                                               Last 4 digits of account number       2693                                             $2,891.00
           Nonpriority Creditor's Name
                                                                                                           Opened 09/10 Last Active
           15000 Capital One Or                                      When was the debt incurred?           3/19/18
           Richmond, VA 23238
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                     □ Contingent
           B Debtor 1 only
                                                                     □ Unliquidated
           □ Debtor 2 only
                                                                     □ Disputed
           □ Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           □ At least one of the debtors and another                 □ Student loans
           □ Check if this claim is for a community debt             □ Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

           B No                                                      □ Debts to pension or profit-sharing plans, and other similar debts
           □ Yes                                                     B Other. Specify Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 2 of 13
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 Debtor 1 Danelle Elaine Chapman
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                                                                                                         Case number (if known)

 4.5       Carnival Cruise Lines                                     Last 4 digits of account number                                                         $2,500.00
           Nonpriority Creditor's Name
           15455 San Fernando Mission Blvd                           When was the debt incurred?            2017
           Mission Hilis, CA91345
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                     D Contingent
           H Debtor 1 only
                                                                     D Unliquidated
           □ Debtor 2 only
                                                                     D Disputed
           □ Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           □ At least one of the debtors and another                 D Student loans
           D Check if this claim is for a community debt             □ Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

           ■ No                                                      D Debts to pension or profit-sharing plans, and other similar debts
           □ Yes                                                     ■ Other. Specify Credit Card

 4.6       CashNet USA                                               Last 4 digits of account number                                                         $3,000.00
           Nonpriority Creditor's Name
           200 West Jackson Suite 1400                               When was the debt incurred?            2018
           Chicago, IL 60606-6941
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                     □ Contingent
           H Debtor 1 only
                                                                     D Unliquidated
           □ Debtor 2 only
                                                                     D Disputed
           □ Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           □ At least one of the debtors and another                 D Student loans
           n Check if this claim is for a community debt             n Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

           ■ No                                                      n Debts to pension or profit-sharing plans, and other similar debts
           □ Yes                                                     ■ Other. Specify Pay Day Loan

 4.7       Cmre. 877-572-7555                                        Last 4 digits of account number       9279                                          $108,893.00
           Nonpriority Creditor's Name
           3075 E Imperial Hwy Ste                                   When was the debt incurred?           Opened 06/14
           Brea, CA 92821
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                     D Contingent
           B Debtor 1 only
                                                                     D Unliquidated
           D Debtor 2 only
                                                                     n Disputed
           □ Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           □ At least one of the debtors and another                 D Student loans
           D Check if this claim is for a community debt             □ Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

           ■ No                                                      D Debts to pension or profit-sharing plans, and other similar debts
                                                                                           Collection Attorney South Coast Global
           D Yes                                                     ■ other. Specify Medical Cen




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 4.8       Cmre. 877-572-7555                                        Last 4 digits of account number        9801                                             $3,088,00
           Nonpriority Creditor's Name
           3075 E Imperial Hwy Ste                                   When was the debt incurred?            Opened 08/14
           Brea, CA 92821
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                     □ Contingent
           H Debtor 1 only
                                                                     □ Unliquidated
           D Debtor 2 only
                                                                     G Disputed
           □ Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           n At least one of the debtors and another                 □ Student loans
           D Check if this claim is for a community debt             □ Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

           ■ No                                                      □ Debts to pension or profit-sharing plans, and other similar debts
           □ Yes                                                     ■ Other. Specify Collection Attorney Daniel T. Stein Md

 4.9       Cmre, 877-572-7555                                        Last 4 digits of account number        4918                                            $2,561,00
           Nonpriority Creditor's Name
           3075 E Imperial Hwy Ste                                   When was the debt incurred?            Opened 05/12
           Brea, CA 92821
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                     □ Contingent
           H Debtor 1 only
                                                                     □ Unliquidated
           □ Debtor 2 only
                                                                     □ Disputed
           □ Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           □ At least one of the debtors and another                 □ Student loans
           □ Check if this claim is for a community debt             □ Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

           ■ No                                                      □ Debts to pension or profit-sharing plans, and other similar debts
                                                                                           Collection Attorney California Heart
           □ Yes                                                     ■ other. Specify Association

 4.10      Cmre, 877-572-7555                                        Last 4 digits of account number       3906                                                $131,00
           Nonpriority Creditor's Name
           3075 E Imperial Hwy Ste                                   When was the debt Incurred?           Opened 03/16
           Brea, CA 92821
           Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
           Who Incurred the debt? Check one.
                                                                     □ Contingent
           H Debtor 1 only
                                                                     □ Unliquidated
           □ Debtor 2 only
                                                                     □ Disputed
           □ Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           □ At least one of the debtors and another                 □ Student loans
           □ Check If this claim Is for a community debt             □ Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

           ■ No                                                      □ Debts to pension or profit-sharing plans, and other similar debts
                                                                                           Coliection Attorney Uci Physicians Biiiing
           □ Yes                                                     ■ other. Specify Group




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 4.11     Cmre. 877-572-7555                                       Last 4 digits of account number       0676                                                  $68.00
          Nonpriorlty Creditor's Name
          3075 E Imperial Hwy Ste                                  When was the debt incurred?            Opened 12/15
          Brea, CA 92821
          Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                   □ Contingent
           H Debtor 1 only
                                                                   D Unliquidated
           □ Debtor 2 only
                                                                   D Disputed
           □ Debtor 1 and Debtor 2 only                            Type of NONPRIORITY unsecured claim:
           n At least one of the debtors and another               D student loans
           D Check if this claim is for a community debt           n Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

           ■ No                                                    D Debts to pension or profit-sharing plans, and other similar debts
                                                                                         Collection Attorney Ucl Physicians Billing
           □ Yes                                                   ■ other. Specify Qroup

 4.12     Cmre. 877-572-7555                                       Last 4 digits of account number        6898                                                $68.00
          Nonpriority Creditor's Name
          3075 E Imperial Hwy Ste                                  When was the debt incurred?            Opened 01/16
          Brea, CA 92821
          Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                   D Contingent
           H Debtor 1 only
                                                                   D Unliquidated
          □ Debtor 2 only
                                                                   D Disputed
          □ Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
          □ At least one of the debtors and another                D student loans
          D Check if this claim is for a community debt            □ Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

           ■ No                                                    D Debts to pension or profit-sharing plans, and other similar debts
                                                                                         Collection Attorney Uci Physicians Billing
          □ Yes                                                    ■ other. Specify Qroup

 4.13     Cmre. 877-572-7555                                       Last 4 digits of account number       6897                                                 $68.00
          Nonpriority Creditor's Name
          3075 E Imperial Hwy Ste                                  When was the debt incurred?           Opened 01/16
          Brea, CA 92821
          Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                   □ Contingent
          H Debtor 1 only
                                                                   D Unliquidated
          □ Debtor 2 only
                                                                   D Disputed
          □ Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
          □ At least one of the debtors and another                D Student loans
          D Check If this claim is for a community debt            D Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

          ■ No                                                     n Debts to pension or profit-sharing plans, and other similar debts
                                                                                         Collection Attorney Uci Physicians Billing
          □ Yes                                                    ■ other. Specify QrOUP




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  4.14     Comenitybank/brylaneho                                   Last 4 digits of account number       1623                                                $375.00
           Nonprlority Creditor's Name
                                                                                                          Opened 03/14 Last Active
           Po Box 182789                                           When was the debt incurred?            3/28/18
           Columbus, OH 43218
           Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                   D Contingent
           H Debtor 1 only
                                                                   D Unliquidated
           □ Debtor 2 only
                                                                   D Disputed
           D Debtor 1 and Debtor 2 only                            Type of NONPRIORITY unsecured claim:
           □ At least one of the debtors and another               D student loans
           □ Check if this claim is for a community debt           n Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                         report as priority claims

           ■ No                                                    □ Debts to pension or profit-sharing plans, and other similar debts
           □ Yes                                                   ■ Other. Specify Charge Account

 4.15      Credit One Bank Na                                      Last 4 digits of account number        1816                                               $521.00
           Nonprlority Creditor's Name
                                                                                                          Opened 07/17 Last Active
           Po Box 98875
                                                                   When was the debt incurred?            4/02/18
           Las Vegas, NV 89193
           Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                   D Contingent
           H Debtor 1 only
                                                                   D Unliquidated
           n Debtor 2 only
                                                                   D Disputed
           D Debtor 1 and Debtor 2 only                            Type of NONPRIORITY unsecured claim:
           □ At least one of the debtors and another               □ Student loans
           D Check if this claim is for a community debt           □ Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                         report as priority claims
           ■ No                                                    D Debts to pension or profit-sharing plans, and other similar debts
           □ Yes                                                   H Other. Specify Credit Card

 4.16      First Premier Bank                                      Last 4 digits of account number       6172                                              $1,147.00
           Nonprlority Creditor's Name
                                                                                                         Opened 08/17 Last Active
           601 S Minnesota Ave
                                                                   When was the debt incurred?           4/10/18
           Sioux Palis, SD 57104
           Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
           Who Incurred the debt? Check one.
                                                                   □ Contingent
           H Debtor 1 only
                                                                   D Unliquidated
           D Debtor 2 only
                                                                   D Disputed
           □ Debtor 1 and Debtor 2 only                            Type of NONPRIORITY unsecured claim:
           n At least one of the debtors and another               D student loans
           D Check if this claim is for a community debt           D Obligations arising out of a separation agreement or divorce that you did not
           is the claim subject to offset?                         report as priority claims
           ■ No                                                    n Debts to pension or profit-sharing plans, and other similar debts
           D Yes                                                   Bi Other. Specify Credit Card




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  4.17      Grant&weber                                               Last 4 digits of account number       7544                                                $522.00
            Nonprlorlty Creditor's Name
            26610 West Agoura Rd Ste                                 When was the debt Incurred?            Opened 6/06/12
            Calabasas, OA 91302
            Number Street City State Zip Code                        As of the date you file, the claim Is: Check all that apply
            Who incurred the debt? Check one.
                                                                      G Contingent
            B Debtor 1 only
                                                                     G Unliquidated
            □ Debtor 2 only
                                                                     G Disputed
            □ Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
            n At least one of the debtors and another                G Student loans
            D Check If this claim Is for a community debt            G Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims
            ■ No                                                     G Debts to pension or profit-sharing plans, and other similar debts
            □ Yes                                                    ■ Other. Specify The Bethencouit Group

  4.18     Grant&weber                                               Last 4 digits of account number        8295                                               $162.00
           Nonpriority Creditor's Name
           26610 West Agoura Rd Ste                                  When was the debt Incurred?            Opened 3/13/12
           Calabasas, OA 91302
           Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
           Who Incurred the debt? Check one.
                                                                     G Contingent
            H Debtor 1 only
                                                                     G Unliquidated
           G Debtor 2 only
                                                                     G Disputed
           G Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           G At least one of the debtors and another                 G Student loans
           G Check If this claim Is for a community debt             G Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

           ■ No                                                      G Debts to pension or profit-sharing plans, and other similar debts
           G Yes                                                     ■ Other. Specify Lbm Pathology Medical Group

 4.19      K. Jordan                                                 Last 4 digits of account number       41B2                                                  $60.00
           Nonpriority Creditor's Name
           P.O. Box 2809                                             When was the debt Incurred?           2019
           Monroe, Wl 53566
           Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
           Who Incurred the debt? Check one.
                                                                     G Contingent
           B Debtor 1 only
                                                                     G Unliquidated
           G Debtor 2 only
                                                                     G Disputed
           G Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           G At least one of the debtors and another                 G student loans
           G Check If this claim Is for a community debt             G Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims
           ■ No                                                      G Debts to pension or profit-sharing plans, and other similar debts
           G Yes                                                     H Other. Specify Collection




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 4.20      Masseys                                                   Last 4 digits of account number        5041                                                 $84,00
           Nonpriorlty Creditor's Name
          PO Box 2822                                                When was the debt incurred?            2017
           Monroe, Wl 53566
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                     D Contingent
           H Debtor 1 only
                                                                     D Unliquidated
           □ Debtor 2 only
                                                                     G Disputed
           □ Debtor 1 and Debtor 2 only                              Type of NONPRiORITY unsecured claim:
           □ At least one of the debtors and another                 G Student loans
           D Check If this claim is for a community debt             G Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

           ■ No                                                      G Debts to pension or profit-sharing plans, and other similar debts
           G Yes                                                     ■ Other. Specify Credit Card

 4.21      Merrick Bank Corp                                         Last 4 digits of account number        1138                                            $2,259.00
           Nonpriority Creditor's Name
                                                                                                            Opened 12/14 Last Active
           Po Box 9201                                               When was the debt incurred?           4/06/18
           Old Bethpage, NY 11804
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                     G Contingent
           H Debtor 1 only
                                                                     G Unliquidated
           G Debtor 2 only
                                                                     G Disputed
           G Debtor 1 and Debtor 2 only                              Type of NONPRiORITY unsecured claim:
           G At least one of the debtors and another                 G Student loans
           G Check if this claim is for a community debt             G Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

           ■ No                                                      G Debts to pension or profit-sharing plans, and other similar debts
           □ Yes                                                     ■ other. Specify Credit Card

 4.22      Montgomery Ward                                           Last 4 digits of account number       9290                                                $137.00
           Nonpriority Creditor's Name
                                                                                                           Opened 03/18 Last Active
           1112 7th Ave                                              When was the debt incurred?            5/11/18
           Monroe, Wi 53566
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                     G Contingent
           H Debtor 1 only
                                                                     G Unliquidated
           G Debtor 2 only
                                                                     G Disputed
           G Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           G At least one of the debtors and another                 G student loans
           G Check if this claim is for a community debt             G Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

           ■ No                                                      G Debts to pension or profit-sharing plans, and other similar debts
           G Yes                                                     ■ Other. Specify Charge Account




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 4.23      National Credit System                                  Last 4 digits of account number        8312                                               $407.00
           Nonpriority Creditor's Name
           3750 Naturaiiy Fresh Blv                                When was the debt incurred?            Opened 12/14
           Atlanta, GA 30349
           Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                   n Contingent
           B Debtor 1 only
                                                                   D Unliquidated
           □ Debtor 2 only
                                                                   G Disputed
           □ Debtor 1 and Debtor 2 only                            Type of NONPRIORITY unsecured claim:
           n At least one of the debtors and another               G student loans
           D Check if this claim is for a community debt           G Obligations arising out of a separation agreement or divorce that you did not
           is the claim subject to offset?                         report as priority claims

           ■ No                                                    G Debts to pension or profit-sharing plans, and other similar debts
           □ Yes                                                   ■ Other. Specify Collection Attorney Csi Laboratories

 4.24      Pasadena Plastic Surgery                                Last 4 digits of account number        0194                                               $214.00
           Nonpriority Creditor's Name
           452 N. Altadena Drive, Suite 210                        When was the debt incurred?            2018
           Pasadena, OA 91105
           Number Street City State Zip Code                       As of the date you fiie, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                   G Contingent
           H Debtor 1 only
                                                                   G Unliquidated
           G Debtor 2 only
                                                                   G Disputed
           G Debtor 1 and Debtor 2 only                            Type of NONPRiORITY unsecured claim:
           G At least one of the debtors and another               G Student loans
           G Check if this claim is for a community debt           G Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                         report as priority claims

           ■ No                                                    G Debts to pension or profit-sharing plans, and other similar debts
           □ Yes                                                   H Other. Specify Coilcction

 4.25      Progressive Mgmt Syste                                  Last 4 digits of account number       9085                                                $987.00
          Nonpriority Creditor's Name
                                                                                                         Opened 10/16 Last Active
           1521 W Cameron Ave P11                                  When was the debt incurred?            11/21/16
          West Covina, OA 91790
          Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                   G Contingent
           H Debtor 1 only
                                                                   G Unliquidated
           G Debtor 2 only
                                                                   G Disputed
           G Debtor 1 and Debtor 2 only                            Type of NONPRIORITY unsecured claim:
           G At least one of the debtors and another               G Student loans
           G Check if this ciaim is for a community debt           G Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

           ■ No                                                    G Debts to pension or profit-sharing plans, and other similar debts
                                                                                         Coliection Attorney Hoag Memoriai
          □ Yes                                                    ■ other. Specify Hospitai Presbyt




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 4.26      Progressive Mgmt Syste                                  Last 4 digits of account number        7609                                               $908.00
           Nonprlorlty Creditor's Name
           1521 W Cameron Ave Fi 1                                 When was the debt incurred?            Opened 07/16
           West Covlna, OA 91790
           Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                   D Contingent
           H Debtor 1 only
                                                                   D Unliquidated
           □ Debtor 2 only
                                                                   D Disputed
           □ Debtor 1 and Debtor 2 only                            Type of NONPRIORITY unsecured claim:
           D At least one of the debtors and another               D Student loans
           D Check if this claim is for a community debt           D Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                         report as priority claims

           ■ No                                                    D Debts to pension or profit-sharing plans, and other similar debts
                                                                                         Collection Attorney Hoag Memorial
           n Yes                                                   ■ other. Specify Hospital Presbyt

 4.27      Progressive Mgmt Syste                                  Last 4 digits of account number        3327                                               $358.00
           Nonprlorlty Creditor's Name
           1521 W Cameron Ave F11                                  When was the debt incurred?            Opened 03/16
           West Covlna, OA 91790
           Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                   D Contingent
           H Debtor 1 only
                                                                   D Unliquidated
           n Debtor 2 only
                                                                   D Disputed
           D Debtor 1 and Debtor 2 only                            Type of NONPRIORITY unsecured claim:
           □ At least one of the debtors and another               □ Student loans
           D Check if this claim is for a community debt           D Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                         report as priority claims

           ■ No                                                    D Debts to pension or profit-sharing plans, and other similar debts
                                                                                         Collection Attorney Hoag Memorial
           □ Yes                                                   ■ other. Specify Hospital Presbyt

 4.28      Progressive Mgmt Syste                                  Last 4 digits of account number        0116                                               $255.00
          Nonprlorlty Creditor's Name
          1521 W Cameron Ave F11                                   When was the debt incurred?           Opened 01/16
          West Covlna, CA 91790
          Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                   □ Contingent
           H Debtor 1 only
                                                                   G Unliquidated
           □ Debtor 2 only
                                                                   □ Disputed
          □ Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
          D At least one of the debtors and another                □ Student loans
          D Check if this claim is for a community debt            □ Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

          ■ No                                                     □ Debts to pension or profit-sharing plans, and other similar debts
                                                                                         Collection Attorney Hoag Memorial
          □ Yes                                                    ■ other. Specify Hospital Presbyt




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 4.29      Progressive Mgmt Syste                                    Last 4 digits of account number        8147                                                 $55.00
           Nonpriorlty Creditor's Name
           1521 W Cameron Ave F! 1                                   When was the debt incurred?            Opened 12/15
           West Covlna, OA 91790
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                     n Contingent
           H Debtor 1 only
                                                                     D Unliquidated
           n Debtor 2 only
                                                                     D Disputed
           □ Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
            D At least one of the debtors and another                D Student loans
            D Check If this claim is for a community debt            □ Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims
            ■ No                                                     □ Debts to pension or profit-sharing plans, and other similar debts
                                                                                           Collection Attorney Hoag Memorial
           n Yes                                                     ■ other. Specify Hospital Presbyt

 4.30      Publishers Clearing House                                 Last 4 digits of account number        4796                                                 $58.00
           Nonprlority Creditor's Name
           P.O. Box 4002936                                          When was the debt incurred?            2018
           Des Molnes, lA 50340-2936
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                     D Contingent
           H Debtor 1 only
                                                                     D Unliquidated
           D Debtor 2 only
                                                                     D Disputed
           □ Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           D At least one of the debtors and another                 □ Student loans
           D Check if this claim is for a community debt             D Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

           ■ No                                                      n Debts to pension or profit-sharing plans, and other similar debts
           D Yes                                                     H Other. Specify CollGCtlon

 4.31      Syncb/walmart                                             Last 4 digits of account number        8620                                            $1,159.00
           Nonpriority Creditor's Name
                                                                                                           Opened 12/15 Last Active
           Po Box 965024
                                                                     When was the debt incurred?           3/28/18
           Orlando, PL 32896
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                     □ Contingent
           H Debtor 1 only
                                                                     D Unliquidated
           D Debtor 2 only
                                                                     D Disputed
           D Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           D At least one of the debtors and another                 D Student loans
           D Check if this claim is for a community debt             D Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

           ■ No                                                      □ Debts to pension or profit-sharing plans, and other similar debts
           n Yes                                                     B Other. Specify Charge Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 11 of 13
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
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  Debtor 1 Danelle Elaine Chapman
                                                            Main Document    Page 30 of 57
                                                                                  Case number (if known)

  4.32     United Resource Systems Inc                               Last 4 digits of account number        1715                                                 $119.00
           Nonprlorlty Creditor's Name
           3501 Teller St                                            When was the debt Incurred?           2017
           Denver, CO 80235
           Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
           Who Incurred the debt? Check one.
                                                                     □ Contingent
           H Debtor 1 only
                                                                     □ Unliquidated
           □ Debtor 2 only
                                                                     G Disputed
           □ Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           D At least one of the debtors and another                 □ Student loans
           D Check If this claim Is for a community debt             □ Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims
           ■ No                                                      □ Debts to pension or profit-sharing plans, and other similar debts
           □ Yes                                                     H Other. Specify Collection

 4.33      Webbank/fingerhut                                         Last 4 digits of account number       3068                                                  $597.00
           Nonpriority Creditor's Name
                                                                                                           Opened 10/14 Last Active
           6250 Ridgewood Road                                       When was the debt Incurred?           2/14/18
           Saint Cloud, MN 56303
           Number Street City State Zip Code                        As of the date you file, the claim Is: Check all that apply
           Who Incurred the debt? Check one.
                                                                     □ Contingent
           H Debtor 1 only
                                                                     □ Unliquidated
           □ Debtor 2 only
                                                                     □ Disputed
           □ Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
           □ At least one of the debtors and another                 □ Student loans
           □ Check if this claim Is for a community debt             □ Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                          report as priority claims

           ■ No                                                      □ Debts to pension or profit-sharing plans, and other similar debts
           □ Ves                                                     ■ Other. Specify Charge Account

             I List others to Be Notified About a Debt That You Already Listed
5. Use this page only If you have others to be notified about your bankruptcy, for a debt that you already listed In Parts 1 or 2. For example. If a collection agency Is
   trying to collect from you for a debt you owe to someone else, list the original creditor In Parts 1 or 2, then list the collection agency here. Similarly, If you have
   more than one creditor for any of the debts that you listed In Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be notified for
   any debts In Parts 1 or 2, do not fill out or submit this page.

EBtBI Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This Information Is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each type
   of unsecured claim.

                                                                                                                                   Total Claim
                        6a.   Domestic support obligations                                                 6a.
                                                                                                                                                 0.00
 Total claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                         6b.
                                                                                                                                                 0.00
                        6c.   Claims for death or personal Injury while you were Intoxicated               6c.                                   0.00
                        6d.   Other. Add ail other priority unsecured claims. Write that amount here.      6d.
                                                                                                                                                 0.00


                        6e.   Total Priority. Add lines 6a through 6d.                                     6e.
                                                                                                                                                 0.00


                                                                                                                                  Total Claim
                        6f.   Student loans                                                                6f.
                                                                                                                                                 0.00
 Total claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that you
                              did not report as priority claims                                            69-                                   0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts          6h.
                                                                                                                                                 0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount here. 6i.
                                                                                                                                           138,953.00

                        6j.   Total Nonprlorlty. Add lines 6f through 6i.                                  6j.                             138,953.00


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 12 of 13
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  Debtor 1 Danelle Elaine Chapman                           Main Document    Page Case
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                                                                                         57 (if known)




Official Form 106 E/F                                  Schedule Elf: Creditors Who Have Unsecured Claims            Page 13 of 13
Software Copyright(c) 1996-2019 Best Case, LLC - www.bestcase.com                                             Best Case Bankruptcy
               Case 8:19-bk-12401-ES                          Doc 1 Filed 06/21/19 Entered 06/21/19 10:55:46                                 Desc
                                                              Main Document    Page 32 of 57
 Fill in this information to identify your case:

 Debtor 1                  Danelle Elaine Chapman
                           First Name                         Middle Name              Last Name

Debtor 2
(Spouse if, filing)        First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               CENTRAL DISTRICT OF CALIFORNIA

Case number
(if known)                                                                                                                          □ Check If this Is an
                                                                                                                                      amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
Information. If more space Is needed, copy the additional page, fill It out, number the entries, and attach It to this page. On the top of any
additional pages, write your name and case number (If known).

1.         Do you have any executory contracts or unexpired leases?
           H No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
           □ Yes. Fill In all of the Information below even If the contacts of leases are listed on Schedule A/B:Property {Off\c\a\ Form 106 A/B).

2.         List separately each person or company with whom you have the contract or lease. Then state what each contract or lease Is for (for
           example, rent, vehicle lease, cell phone). See the Instructions for this form In the Instruction booklet for more examples of executory contracts
           and unexpired leases.


            Person or company with whom you have the contract or lease                   State what the contract or lease Is for
                           Name, Number, Street, City, State and ZIP Code
     2.1
             Name



             Number      Street


             City                                   State                   ZIP Code
     2.2
             Name



             Number      Street


             City                                   State                   ZIP Code
     2.3
             Name



             Number      Street


             City                                   State                   ZIP Code
     2.4
             Name



             Number      Street


             City                                   State                   ZIP Code
     2.5
             Name



             Number      Street


             City                                   State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
Software Copyright (c) 1996-2019 Best Case, LLC -www.bestcase.com                                                                                Best Case Bankruptcy
             Case 8:19-bk-12401-ES                                 Doc 1 Filed 06/21/19 Entered 06/21/19 10:55:46                         Desc
                                                                   Main Document    Page 33 of 57
 Fill In this information to identify your case:

 Debtor 1                   Danelle Elaine Chapman
                            First Name                             Middle Name        Last Name

Debtor 2
(Spouse if, filing)         First Name                             Middle Name        Last Name


 United States Bankruptcy Court for the:                  CENTRAL DISTRICT OF CALIFORNIA


Case number
(if known)                                                                                                                       □ Check If this Is an
                                                                                                                                   amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                            12/15


Codebtors are people or entitles who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct Information. If more space Is needed, copy the Additional Page,
fill It out, and number the entries In the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (If known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

      ■ no
      □ Yes

      2. Within the last 8 years, have you lived In a community property state or territory? (Community property states and territories Include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      □ No. Go to line 3.
      B Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

               ■ No
               □ Yes.


                        In which community state or territory did you live?           -NONE-          . Fill In the name and current address of that person.


                        Name of your spouse, former spouse, or legal equivalent
                        Number, Street, City, State & Zip Code

   3. In Column 1, list all of your codebtors. Do not Include your spouse as a codebtor If your spouse Is filing with you. List the person shown
      In line 2 again as a codebtor only If that person Is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

               Column 1* Your codebtor                                                                Column^The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:

    3.1                                                                                               □ Schedule D, line
               Name
                                                                                                      □ Schedule E/F, line
                                                                                                      □ Schedule G, line .
               Number              Street
               City                                       State                        ZIP Code




    3.2                                                                                               □ Schedule D, line
               Name
                                                                                                      □ Schedule E/F, line
                                                                                                      □ Schedule G, line .
               Number              Street
               City                                        State                       ZIP Code




Official Form 106H                                                                Schedule H: Your Codebtors                                       Page 1 of 1
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Fill in this information to identify your case;

Debtor 1                        Danelle Elaine Chapman

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:         CENTRAL DISTRICT OF CALIFORNIA

Case number                                                                                            Check If this is:
(If known)
                                                                                                       □ An amended filing
                                                                                                       □ A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 1061                                                                                         MM/DD/YYYY

Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct Information. If you are married and not filing jointly, and your spouse Is living with you, Include Information about your
spouse. If you are separated and your spouse Is not filing with you, do not Include Information about your spouse. If more space Is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (If known). Answer every question.

                      I Describe Employment
 1.     Fill In your employment
        Information.

       If you have more than one job,                               □ Employed                                □ Employed
       attach a separate page with             Employment status
                                                                    B Not employed                            n Not employed
        information about additional
       employers.
                                               Occupation
       Include part-time, seasonal, or
       self-employed work.                     Employer's name

       Occupation may include student          Employer's address
       or homemaker, if it applies.


                                               How long employed there?

                      I Give Details About Monthly Income
Estimate monthly Income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.




        List monthly gross wages, salary, and commissions (before all payroll
2-     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $             0.00       $             N/A


3.      Estimate and list monthly overtime pay.                                             3.   +$             0.00       +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $          0.00               $      N/A




Official Form 1061                                                        Schedule I: Your Income                                                page 1
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                                                 Main Document    Page 35 of 57

Debtor 1    Danelle Elaine Chapman                                                                 Case number {if known)



                                                                                                    For Debtor 1                For Debtor 2 or


     Copy line 4 here                                                                        4.     $
                                                                                                                      1
                                                                                                                   0.00
                                                                                                                            •


                                                                                                                                $
                                                                                                                                        ''''■   ' ' '



                                                                                                                                                   N/A

     List ail payroll deductions:
     5a.     Tax, Medicare, and Social Security deductions                                   5a.  $                0.00         $                  N/A
     5b.     Mandatory contributions for retirement plans                                    5b.  $                0.00         $                  N/A
     5c.     Voluntary contributions for retirement plans                                    5c.  $                0.00         $                  N/A
     5d.     Required repayments of retirement fund loans                                    5d.  $                0.00         $                  N/A
     5e.     insurance                                                                       5e.  $                0.00         $                  N/A
     5f.     Domestic support obligations                                                    5f.  $                0.00   $                        N/A
     5g.     Union dues                                                                      5g.  $                0.00   $                        N/A
      5h.    Other deductions. Specify:                                                      5h.+ $                0.00 + $                        N/A

     Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                          6.     $              0.00         $                  N/A

7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                    7.     $              0.00         $                  N/A

     List ail other income regularly received:
     8a.    Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                              8a.    $              0.00         $                  N/A
     8b.     interest and dividends                                                          8b.    $              0.00         $                  N/A
     8c.     Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                            8c.    $              0.00         $                  N/A
     8d.     Unemployment compensation                                                       8d.    $              0.00         $                  N/A
     8e.     Social Security                                                                 8e.    $        2,288.50           $                  N/A
     8f.     Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                        8f.    $              0.00   $                        N/A
      8g.    Pension or retirement income                                                    8g.  $                0.00   $                        N/A
      8h.    Other monthly income. Specify:                                                  8h.+ $                0.00 + $                        N/A


9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                                9.               2,288.50                                  N/A


10. Calculate monthly income. Add line 7 + line 9.                                         10.          2,288.50                      N/A                     2,288.50
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
 11. State all other regular contributions to the expenses that you list in Schedufe J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
      other friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
      Specify:

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
     Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
      applies                                                                                                                                                 2,288.50

                                                                                                                                            Combined
                                                                                                                                            monthly income
13. Do you expect an increase or decrease within the year after you file this form?
      ■         No.
      □         Yes. Explain: I                                                    ~~~~~




Official Form 1061                                                     Schedule i: Your income                                                                 page 2
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 Fill in this information to identify your case;

 Debtor 1              Danelle Elaine Chapman                                                               Check if this is:
                                                                                                            □      An amended filing
 Debtor 2                                                                                                   □      A supplement showing postpetition chapter
(Spouse, if filing)                                                                                                13 expenses as of the following date:

 United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA                                            MM/DD/YYYY


Case number
(If known)




 Official Form 106J
 Schedule J: Your Expenses                                                                                                                               12/15
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.

              Describe Your Household
      Is this a Joint case?
       H No. Go to line 2.
      n Yes. Does Debtor 2 live in a separate household?
                n No
                □ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 2.   Do you have dependents?           ■ No
      Do not list Debtor 1 and          □ Yes.     Fill out this information for   Dependent's relationship to        Dependent's       Does dependent
      Debtor 2.                                    each dependent                  Debtor 1 or Debtor 2               age               live with you?

      Do not state the                                                                                                                  □   No
      dependents names.                                                                                                                 □   Yes
                                                                                                                                        □   No
                                                                                                                                        □   Yes
                                                                                                                                        □ No
                                                                                                                                        □ Yes
                                                                                                                                        □ No
                                                                                                                                        □ Yes
3.    Do your expenses include                 ■ No
      expenses of people other than
      yourself and your dependents?            □ Yes

             I Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

 include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included It on Schedule I: Your Income
(Official Form 1061.)

4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            1,100.00

      If not included in line 4:

      4a.     Real estate taxes                                                                           4a. $                                   0.00
      4b.     Property, homeowner's, or renter's insurance                                                4b. $                                   0.00
      4c.     Home maintenance, repair, and upkeep expenses                                               4c. $                                   0.00
      4d.     Homeowner's association or condominium dues                                                 4d. $                                   0.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5. $                                  0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
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Debtor 1     Danelle Elaine Chapman                                                                    Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                     6a. $                                  80.00
      6b. Water, sewer, garbage collection                                                                   6b. $                                    0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                     6c. $                                245.00
      6d. Other. Specify:                                                                                    6d. $                                   0.00
7.    Food and housekeeping supplies                                                                          7. $                                300.00
8.    Chiidcare and children's education costs                                                                8. $                                   0.00
9.  Clothing, laundry, and dry cleaning                                                                       9. $                                100.00
10. Personal care products and services                                                                      10. $                                100.00
11. Medical and dental expenses                                                                              11. $                                    0.00
12. Transportation. Include gas, maintenance, bus or train fare.
    Do not include car payments.                                                                             12. $                                100.00
13. Entertainment, clubs, recreation, newspapers, magazines, and books                                       13. $                                100.00
14. Charitable contributions and religious donations                                                         14. $                                    0.00
15. Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                                  15a. $                                     0.00
      15b. Health insurance                                                                                15b. $                                     0.00
      15c.   Vehicle insurance                                                                              15c. $                                  58.00
      15d. Other insurance. Specify:                                                                       15d. $                                     0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                               16. $                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                      17a. $                                     0.00
      17b. Car payments for Vehicle 2                                                                      17b. $                                     0.00
      17c. Other. Specify:                                                                                  17c. $                                    0.00
      17d. Other. Specify:                                                                                 17d. $                                     0.00
18.   Your payments of alimony, maintenance,and support that you did not report as
      deducted from your pay on line 5, Schedule 1, YourIncome(Official Form 1061).                          18. $                                    0.00
19.   Other payments you make to support others who do not live with you.                                         $                                   0.00
    Specify:                                                                               19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule 1: Your Income,
      20a. Mortgages on other property                                                                     20a. $                                     0.00
      20b. Real estate taxes                                                                               20b. $                                     0.00
      20c. Property, homeowner's, or renter's insurance                                                    20c. $                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                                        20d. $                                     0.00
      20e. Homeowner's association or condominium dues                                                     20e. $                                     0.00
21.   Other: Specify:      Medicare from SSI                                                                 21. +$                               135.50

22.   Calculate your monthly expenses
      22a. Add lines 4 through 21.                                                                                    $                      2,318.50
      22b. Copy line 22(monthly expenses for Debtor 2), if any,from Official Form 106J-2                              $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                 $                      2,318.50
23.   Calculate your monthly net income.
      23a. Copy line 12(your combined monthly Income)from Schedule I.                                      23a. $                               2,288.50
      23b. Copy your monthly expenses from line 22c above.                                                 23b. -$                              2,318.50

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net Income.                                                          23c. $                                  -30.00

24.   Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
      ■ No.
      □ Yes.              Explain here:




Official Form 106J                                                 Schedule J: Your Expenses                                                                      page 2
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Fill In this information to Identify your case:

Debtor 1                 Danelle Elaine Chapman
                         First Name                       Middle Name              Last Name

Debtor 2
(Spouse if, filing)      First Name                       Middle Name              Last Name


 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

Case number
(If known)                                                                                                                         □ Check If this Is an
                                                                                                                                     amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                         12/15
If two married people are filing together, both are equally responsible for supplying correct Information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud In connection with a bankruptcy case can result In fines up to $250,000, or Imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152,1341,1519, and 3571.



                  Sign Below


        Did you pay or agree to pay someone who Is NOT an attorney to help you fill out bankruptcy forms?

        ■      No

        □      Yes. Name of person                                                                               Attach Bankruptcy Petition Preparer's Notice,
                                                                                                               ' Declaration, and Signature (Official Form 119)


      LtrfdeTpeqalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that thby are true and^rrect.

       X /s/~Banelle Elaine Chapman
             Danelle Elaine Chapman                                                    Signature of Debtor 2
             Signature of Debtor 1

             Date     June 19, 2019                                                    Date




Official Form 106Dec                                      Declaration About an Individual Debtor's Schedules

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             Case 8:19-bk-12401-ES                          Doc 1 Filed 06/21/19 Entered 06/21/19 10:55:46                                        Desc
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Fill in this information to identify your case:

Debtor 1                  Danelle Elaine Chapman
                          First Name                       Middle Name                  Last Name

Debtor 2
(Spouse if, filing)       First Name                       Middle Name                  Last Name


United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA


Case number
(if known)                                                                                                                                □ Check If this Is an
                                                                                                                                            amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                               4/19
Be as complete and accurate as possible. If two married peopie are fiiing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additionai pages, write your name and case
number (if known). Answer every question.

BBKHB Give Details About Your Maritai Status and Where You Lived Before
1.    What is your current marital status?

       □      Married
       I      Not married

2.    During the iast 3 years, have you iived anywhere other than where you iive now?

       ■      No
       □ Yes. List all of the places you lived In the last 3 years. Do not Include where you live now.
        Debtor 1 Prior Address:                                 Dates Debtor 1             Debtor 2 Prior Address:                               Dates Debtor 2
                                                                iived there                                                                      iived there

3.    Within the iast 8 years, did you ever iive with a spouse or iegai equivaient in a community property state or territory? {Community property
states and territories Include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

       ■      No
       □      Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

                Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill In the total amount of Income you received from all jobs and all businesses. Including part-time activities.
       If you are fi ling a joint case and you have Income that you receive together, list It only once under Debtor 1.

       ■      No
       □      Yes. Fill In the details.

                                                  Debtor 1                                                        Debtor?/            ,
                                                  Sources of income                Gross income                   Sources of income               Gross income
                                                  Check all that apply.            (before deductions and         Check all that apply.           (before deductions
                                                                                   exclusions)                                                    and exclusions)




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
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Debtor 1      Danelle Elaine Chapman                                                                      Case number {if known)



5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples oi other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

      ■     No
      □     Yes. Fill In the details.

                                                   Debtor 1                                                       Debtor?         ~
                                                   Sources of Income               Gross income from              Sources of income            Gross income
                                                   Describe below.                 each source                    Describe below.              (before deductions
                                                                                   (before deductions and                                      and exclusions)
                                                                                   exclusions)

            I List Certain Payments You Made Before You Filed for Bankruptcy

      Are either Debtor 1's or Debtor 2's debts primarily consumer debts?
      □     No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an
                    individual primarily for a personal, family, or household purpose."

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                     ^ No.        Go to line 7.
                     d Yes         List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

      I     Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     ■ No.         Go to line 7.
                     ^ Yes         List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment            Total amount          Amount you       Was this payment for.
                                                                                                      paid            still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

      ■     No
      □     Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment            Total amount         Amount you        Reason for this payment
                                                                                                      paid            still owe

      Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

      ■     No
      □     Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                      paid            still owe    Include creditor's name




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              Idi'iilily Legal Actions, Repossessions,and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List ail such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

      ■     No
      n     Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                           Status of the case
       Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed,foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

      B     No. Goto line 11.
      □     Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                         Valueofthe
                                                                                                                                                              property
                                                                 Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
      ■     No
      □     Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                 Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

      ■     No
      □     Yes

             i List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
    ■ No
      □     Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                     Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
    ■ No
      □     Yes. Fill in the detaiis for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                          Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, street, City, State and ZIP Code)

              List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
      or gambling?

      ■     No
      □     Yes. Fili in the detaiis.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your          Value of property
       how the loss occurred                                inciude the amount that insurance has paid. List pending
                                                            Insurance claims on line 33 of Schedule A/B: Property.


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            I List Certain Payments or Transfers

16. Within 1 year before you fiied for bankruptcy, did you or anyone eise acting on your behaif pay or transfer any property to anyone you
    consuited about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

      □     No
      H     Yes. Fill in the details.
       Person Who Was Paid                                           Description and vaiue of any property                   Date payment               Amount of
       Address                                                       transferred                                             or transfer was              payment
       Email or website address                                                                                              made
       Person Who Made the Payment, if Not You
       The Attorney Group                                            Attorney Fees $795                                      7/3/2018                     $795.00
       3435 Wllshire Blvd
       Suite 1111
       Los Angeles, OA 90010
       dking@theattorneygroup.com


17. Within 1 year before you filed for bankruptcy, did you or anyone eise acting on your behaif pay or transfer any property to anyone who
    promised to heip you deai with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

      ■     No
      □     Yes. Fill in the details.
       Person Who Was Paid                                           Description and vaiue of any property                   Date payment               Amount of
       Address                                                       transferred                                             or transfer was              payment
                                                                                                                             made

18. Within 2 years before you fiied for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
      transferred in the ordinary course of your business or financial affairs?
      Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
      include gifts and transfers that you have already listed on this statement.
      ■     No
      □     Yes. Fill in the details.
       Person Who Received Transfer                                  Description and vaiue of                  Describe any property or        Date transfer was
       Address                                                       property transferred                      payments received or debts      made
                                                                                                               paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a seif-settied trust or simiiar device of which you are a
      beneficiary? (These are often called asset-protection devices.)
      ■     No
      n     Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                         Date Transfer was
                                                                                                                                               made

            I List of Certain Financial Accounts, Instruments. Safe Deposit Boxes, and Storage Units
20. Within 1 year before you fiied for bankruptcy, were any financiai accounts or instruments heid in your name, or for your benefit, ciosed,
      soid, moved, or transferred?
      inciude checking, savings, money market, or other financiai accounts; certificates of deposit; shares in banks, credit unions, brokerage
      houses, pension funds, cooperatives, associations, and other financiai institutions.
      □     No
      ■     Yes. Fiii in the detaiis.
       Name of Financial Institution and                        Last 4 digits of          Type of account or           Date account was               Last baiance
       Address (Number, Street, City, State and ZIP             account number            instrument                   ciosed, soid,            before ciosing or
       Code)                                                                                                           moved, or                          transfer
                                                                                                                       transferred




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       Name of Financial Institution and                        Last 4 digits of             Type of account or           Date account was        Last balance
       Address(Number, Street, City, State and ZIP              account number               instrument                   closed, sold,       before closing or
       Code)                                                                                                              moved, or                       transfer
                                                                                                                          transferred

       Bank of America                                          XXXX-                        □   Checking                 5/2019                           $0.00
                                                                                             □   Savings
                                                                                             □   Money Market
                                                                                             □   Brokerage
                                                                                             □ Other

21.   Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
      cash, or other valuables?

      ■     No
      □     Yes. Fill in the details.
       Name of Financial institution                                Who else had access to it?                 Describe the contents           Do you still
       Address (Number, street. City, State and ZIP Code)            Address (Number, street. City,                                            have it?
                                                                     State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

      ■     No
      n     Yes. Fill in the details.
       Name of Storage Facility                                     Who else has or had access                 Describe the contents           Do you still
       Address (Number, Street, City, State and ZIP Code)           to it?                                                                     have it?
                                                                    Address (Number, Street, City,
                                                                     State and ZIP Code)

            I identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for, or hold in trust
      for someone.


      ■     No
      □     Yes. Fill in the details.
       Owner's Name                                                 Where is the property?                     Describe the property                        Value
       Address (Number, Street, City, State and ZIP Code)           (Number, street. City, State and ZIP
                                                                     Code)

               Give Details About Environmental information


For the purpose of Part 10, the following definitions apply:

H Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
H Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
H Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report ail notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

      ■     No
      n     Yes. Fill in the details.
       Name of site                                                 Governmental unit                             Environmental law, if you    Date of notice
       Address (Number, Street, City, State and ZIP Code)           Address (Number; street, city. State and      know It
                                                                    ZiP Code)




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    pages

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25. Have you notified any governmental unit of any release of hazardous material?

      ■      No
      □      Yes. Fill In the details.
        Name of site                                                 Governmental unit                             Environmental law, if you         Date of notice
        Address (Number, street, City, state and ZIP Code)           Address (Number, Street, City, State and      knoW It
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? include settlements and orders.

      ■      No
      □      Yes. Fill In the details.
        Case Title                                                   Court or agency                            Nature of the case                  Status of the
        Case Number                                                  Name                                                                           case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

MBiUM Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
             n A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
             □ A member of a limited liability company (LLC) or limited liability partnership (LLP)
             □ A partner in a partnership
             □ An officer, director, or managing executive of a corporation
             □ An owner of at least 5% of the voting or equity securities of a corporation
      I No. None of the above applies. Go to Part 12.
      □ Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                            Describe the nature of the business                Employer identification number
        Address                                                                                                     Do not include Social Security number or ITiN.
        (Number, street, City, state and ZIP Code)               Name ofaccountant or bookkeeper
                                                                                                                    Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
      institutions, creditors, or other parties.

      ■      No
      □      Yes. Fill In the details below.
        Name                                                     Date issued
        Address
        (Number, Street, City, State and ZIP Code)


liBiMM Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152,1341,1519, and 3571.

/s/ Danelle Elaine Chapman
Danelle Elaine Chapman                                                   Signature of Debtor 2
 Signature of Debtor 1

 Date      June 19, 2019                                                 Date

Did you attach additional pages to Your Statement of Financial Affairs for individuals F/7/ng for Bankruptcy (Official Form 107)?
■ No
□ Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
■ No
□ Yes. Name of Person                    . Attach the Bankrvptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).
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 Fill in this information to identify your case:

 Debtor 1                Danelle Elaine Chapman
                         First Name                        Middle Name               Last Name

Debtor 2
(Spouse if, filing)      First Name                        Middle Name               Last Name


 United States Bankruptcy Court for the:             CENTRAL DISTRICT OF CALIFORNIA

 Case number
(if known)                                                                                                             □ Check If this Is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                             12/15
If you are an individual filing under chapter 7, you must fill out this form if;
H creditors have claims secured by your property, or
H you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
             on the form

if two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

               List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill i
   information below.




    Creditor's                                                           □ Surrender the property.                     □ No
    name:                                                                □ Retain the property and redeem it.
                                                                         n Retain the property and enter into a        □ Yes
    Description of                                                          Reaffirmation Agreement
    property                                                             □ Retain the property and [explain]:
    securing debt:


    Creditor's                                                           □ Surrender the property.                     □ No
    name:                                                                □ Retain the property and redeem it.
                                                                         □ Retain the property and enter into a        □ Yes
    Description of                                                          Reaffirmation Agreement
    property                                                             □ Retain the property and [explain]:
    securing debt:


    Creditor's                                                           □ Surrender the property.                     □ No
    name:                                                                □ Retain the property and redeem it.
                                                                         □ Retain the property and enter into a        □ Yes
    Description of                                                          Reaffirmation Agreement
    property                                                             □ Retain the property and [explain]:
    securing debt:


    Creditor's                                                           □ Surrender the property.                     □ No



Official Form 108                                      Statement of intention for Individuals Filing Under Chapter 7                           page 1

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    name:                                                               □ Retain the property and redeem it.                        □ Yes
                                                                        □ Retain the property and enter into a
    Description of                                                          Reaffirmation Agreement.
    property                                                            □ Retain the property and [explain]:
    securing debt:



          I List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                               Will the lease be assumed?


 Lessor's name:                                                                                                                 □ No
 Description of leased
 Property:                                                                                                                      □ Yes

 Lessor's name:                                                                                                                 □ No
 Description of leased
 Property:                                                                                                                      □ Yes

 Lessor's name:                                                                                                                 □ No
 Description of leased
 Property:                                                                                                                      □ Yes

 Lessor's name:                                                                                                                 □ No
 Description of leased
 Property:                                                                                                                      □ Yes

 Lessor's name:                                                                                                                 □ No
 Description of leased
 Property:                                                                                                                      □ Yes

 Lessor's name:                                                                                                                 □ No
 Description of leased
 Property:                                                                                                                      □ Yes

 Lessor's name:                                                                                                                 □ No
 Description of leased
 Property:                                                                                                                      □ Yes

1^

UndpF-penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
proper^ th^t is ^ubj^t to an unexpired lease.
X /s/ D^ffeilie Elaine Chapman
       Danelle Elaine Chapman                                                          Signature of Debtor 2
       Signature of Debtor 1

       Date        June 19, 2019                                                   Date




Official Form 108                                      Statement of Intention for individuals Filing Under Chapter 7                                        page 2

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Notice Required by 11 U.S.C.§ 342(b)for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                       Chapter 7:        Liquidation
This notice is for you if:
                                                                                               $245 filing fee
        You are an individuai fiiing for bankruptcy,
        and                                                                                     $75   administrative fee

        Your debts are primarily consumer debts.                                       +        $15 trustee surcharge
        Consumer debts are defined In 11 U.S.C.
        § 101(8) as "incurred by an individual                                                 $335   total fee
        primarily for a personal, family, or
        household purpose."                                                            Chapter 7 is for individuals who have financial
                                                                                       difficulty preventing them from paying their debts
                                                                                       and who are willing to allow their nonexempt
The types of bankruptcy that are available to                                          property to be used to pay their creditors. The
 individuals                                                                           primary purpose of filing under chapter 7 is to have
                                                                                       your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                    many of your pre-bankruptcy debts. Exceptions exist
                                                                                       for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                        be enforced after discharge. For example, a creditor
                                                                                       may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                    repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                          However, if the court finds that you have committed
                   for family farmers or                                               certain kinds of improper conduct described in the
                          fishermen                                                    Bankruptcy Code, the court may deny your
                                                                                       discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                        You should know that even if you file chapter 7 and
                          income                                                       you receive a discharge, some debts are not
                                                                                       discharged under the law. Therefore, you may still
                                                                                       be responsible to pay:
You should have an attorney review your
decision to file for bankruptcy and the choice of                                          most taxes;
chapter.
                                                                                           most student loans;

                                                                                           domestic support and property settlement
                                                                                           obligations;




Notice Required by 11 U.S.C.§ 342(b)for Individuals Filing for Bankruptcy(Form 2010)                                                       page 1
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        most fines, penalties, forfeitures, and criminal                               your income is more than the median income for your
        restitution obligations; and                                                   state of residence and family size, depending on the
                                                                                       results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                           administrator, or creditors can file a motion to dismiss
        papers.                                                                        your case under § 707(b) of the Bankruptcy Code. If a
                                                                                       motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                   be dismissed. To avoid dismissal, you may choose to
                                                                                       proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                Code.

        fraud or defalcation while acting in breach of                                 If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                            the trustee may sell your property to pay your debts,
                                                                                       subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                   of the proceeds from the sale of the property. The
                                                                                       property, and the proceeds from property that your
        death or personal injury caused by operating a                                 bankruptcy trustee sells or liquidates that you are
         motor vehicle, vessel, or aircraft while intoxicated                          entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                         enable you to keep your home, a car, clothing, and
                                                                                       household items or to receive some of the proceeds if
If your debts are primarily consumer debts, the court                                  the property is sold.
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.                                     Exemptions are not automatic. To exempt property,
You must file Chapter 7 Statement of Your Current                                      you must list it on Schedule C: The Property You Claim
Monthly Income (Official Form 122A-1) if you are an                                    as Exempt(Official Form 106C). If you do not list the
individual filing for bankruptcy under chapter 7. This                                 property, the trustee may sell it and pay all of the
form will determine your current monthly income and                                    proceeds to your creditors.
compare whether your income is more than the median
income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                               Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A-2).
                                                                                                   $1,167 filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                        +           $550    administrative fee
 Calculation (Official Form 122A-2). The calculations on
                                                                                                   $1,717     total fee
 the form— sometimes called the Means Tesf—deduct
from your income living expenses and payments on
                                                                                       Chapter 11 is often used for reorganizing a business,
certain debts to determine any amount available to pay
                                                                                       but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                       chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C.§ 342(b)for individuals Filing for Bankruptcy(Form 2010)                                                            page 2
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        Read These Important Warninqs

            Because bankruptcy can have serious long-term financial and legal consequences,Including loss of
            your property, you should hire an attorney and carefully consider all of your options before you file.
            Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
            and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
            properly and protect you, your family, your home,and your possessions.

            Although the law allows you to represent yourself In bankruptcy court, you should understand that
            many people find It difficult to represent themselves successfully. The rules are technical, and a mistake
            or Inaction may harm you. If you file without an attorney, you are still responsible for knowing and
            following all of the legal requirements.

            You should not file for bankruptcy If you are not eligible to file or If you do not Intend to file the
            necessary documents.

            Bankruptcy fraud Is a serious crime; you could be fined and Imprisoned If you commit fraud In your
            bankruptcy case. Making a false statement,concealing property, or obtaining money or property by
            fraud In connection with a bankruptcy case can result In fines up to $250,000, or Imprisonment for up to
            20 years, or both. 18 U.S.C.§§ 152,1341,1519, and 3571.



                                                                                       Under chapter 13, you must file with the court a plan
Chapter 12: Repayment plan for family                                                  to repay your creditors all or part of the money that
                    farmers or fishermen                                               you owe them, usually using your future earnings. If
                                                                                       the court approves your plan, the court will allow you
                                                                                       to repay your debts, as adjusted by the plan, within 3
                  $200 filing fee                                                      years or 5 years, depending on your Income and other
+                  $75 administrative fee                                              factors.
                  $275       total fee
                                                                                       After you make all the payments under your plan,
Similar to chapter 13, chapter 12 permits family farmers                               many of your debts are discharged. The debts that are
and fishermen to repay their debts over a period of time                               not discharged and that you may still be responsible to
using future earnings and to discharge some debts that                                 pay Include;
are not paid.
                                                                                              domestic support obligations,

                                                                                              most student loans,
Chapter 13: Repayment plan for
            Individuals with regular                                                          certain taxes,
                    Income
                                                                                              debts for fraud or theft,

                  $235 filing fee                                                             debts for fraud or defalcation while acting In a
+                  $75 administrative fee                                                     fiduciary capacity,
                  $310       total fee
                                                                                              most criminal fines and restitution obligations,
Chapter 13 Is for Individuals who have regular Income
and would like to pay all or part of their debts In                                           certain debts that are not listed In your
Installments over a period of time and to discharge                                           bankruptcy papers,
some debts that are not paid. You are eligible for
chapter 13 only If your debts are not more than certain                                       certain debts for acts that caused death or
dollar amounts set forth In 11 U.S.C. § 109.                                                  personal Injury, and

                                                                                              certain long-term secured debts.




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                                                                                        A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                         together—called a joint case. If you file a joint case and
                                                                                        each spouse lists the same mailing address on the
Section 521(a)(1) of the Bankruptcy Code requires that                                  bankruptcy petition, the bankruptcy court generally will
you promptly file detailed information about your                                       mail you and your spouse one copy of each notice,
creditors, assets, liabilities, income, expenses and                                    unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                          Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                    credit counseling agencies

 For more information about the documents and                                           The law generally requires that you receive a credit
 their deadlines, go to:                                                                counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcv form .v                                     agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                      case, both spouses must receive the briefing. With
                                                                                        limited exceptions, you must receive it within the 180
                                                                                        days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                            briefing is usually conducted by telephone or on the
                                                                                        Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                 In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                       must complete a financial management instructional
        connection with a bankruptcy case, you may be                                   course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                     filing a joint case, both spouses must complete the
                                                                                        course.

         All information you supply in connection with a
         bankruptcy case is subject to examination by the                               You can obtain the list of agencies approved to provide
         Attorney General acting through the Office of the                              both the briefing and the instructional course from:
         U.S. Trustee, the Office of the U.S. Attorney, and                             http://iustice.qov/ust/eo/hapcpa/ccde/cc approved.html
         other offices and employees of the U.S.
         Department of Justice.
                                                                                        In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                           http://www.uscourts.gov/FederalCourts/Bankruptcv/
                                                                                        BankruptcvResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                      AndDebtCounselors.aspx.
 address you list on Voluntary Petition for individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                   If you do not have access to a computer, the clerk of
 that you receive information about your case.                                          the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                the list.
 of any changes in your address.




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B2030(Form 2030)(12/15)
                                                              United States Bankruptcy Court
                                                                     Central District of California

 In re      Danelle Elaine Chapman                                                                            Case No.
                                                                                  Debtor(s)                   Chapter       7

                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuantto 11 U.S.C. § 329(a)and Fed. Bankr. P. 2016(b),I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing ofthe petition in bankruptcy, or agreed to be paid to me,for services rendered or to
      be rendered on behalf ofthe debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     795.00
             Prior to the filing ofthis statement I have received                                         $                     795.00
             Balance Due                                                                                  $                       0.00

2.    The source ofthe compensation paid to me was:
             B Debtor              □      Other (specify):

3.     The source of compensation to be paid to me is:

             ■ Debtor              □      Other (specify):

4.       B I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

         □ I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
           copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. [Other provisions as needed]
                  Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                  reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                  522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeabiiity actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                           CERTIFICATION

       I certify that the foregoing is i1 complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     June 19, 2019                                                                /s/ Daniel King
     Date                                                                         Daniel King
                                                                                  Signature ofAttorney
                                                                                  The Attorney Group
                                                                                  3435 Wllshire Blvd
                                                                                  Suite 1111
                                                                                  Los Angeles, CA 90010
                                                                                  213-388-3887 Fax: 213-388-1744
                                                                                  dklng^heattorneygroup.com
                                                                                  Name oflaw firm




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 Fill in this information to identify your case:                                                       Check one box only as directed in this form and in Form
                                                                                                       122A-1Supp:
 Debtor 1             Danelle Elaine Chapman

 Debtor 2                                                                                                  ■ 1. There is no presumption of abuse
(Spouse, if filing)

 United States Bankruptcy Court for the:           Central District of California                         n 2. The calculation to determine if a presumption of abuse
                                                                                                                  applies will be made under Chapter 7 Means Test
                                                                                                                  Calculation (Official Form 122A-2).
Case number
(if known)
                                                                                                           □ 3. The Means Test does not apply now because of
                                                                                                                 qualified military service but it could apply later.
                                                                                                           □ Check if this is an amended filing
Official Form 122A -1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

                 Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
        H Not married. Fill out Column A, lines 2-11.
        □ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
        n Married and your spouse is NOT filing with you. You and your spouse are:
         □ Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
         n Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                 penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                 living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
   ^ FilMh the eyerage monthly income that you received from all sources, derived during the ^ full months„before you file this bankruptcy case. 11 U.S.C.J
  . .l bl(1M)' For example, if you are filing on September 15, the 6-month periiod would be,March 1 through August 31.^ If the amount of your rnonthly incpmeivaned djliring
 r.r.the 6 mbntHs, add the Income for all 6 months and divide the total by 6. Fill in the results Do not Inblude'ariy Income a^durit more than once.^For exXmple^tif both        '
    spoused own the same rental property, put the income from that property In one column only.= If you have nothing to repofrfor'any line, wHteio In thedpace.'            ;        ,
                                                                                                            Column A                   Column B      I
                                                                                                            Debtor 1                   Uepipirl
                                                                                                                                       non-filing spouse
  2.   Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
       payroll deductions).                                                                                                 0.00       $
  3.   Alimony and maintenance payments. Do not include payments from a spouse if
       Column B is filled in.                                                                                               0.00       $
  4.   Ail amounts from any source which are regularly paid for household expenses
       of you or your dependents, including chiid support. Include regular contributions
       from an unmarried partner, members of your household, your dependents, parents,
       and roommates. Include regular contributions from a spouse only if Column B is not
       filled in. Do not include payments you listed on line 3.                                                             0.00

       Net income from operating a business, profession, or farm
                                                                                     Debtor 1

       Gross receipts (before all deductions)                             $         0.00
       Ordinary and necessary operating expenses                          -$        0.00
       Net monthly income from a business, profession, or farm $                    0.00 Copy here -> $                     0.00       $
       Net income from rental and other real property
                                                                                     Debtor 1

       Gross receipts (before all deductions)                                       0.00
       Ordinary and necessary operating expenses                                    0.00
       Net monthly income from rental or other real property                        0.00   Copy here -> $                   0.00

  7.   Interest, dividends, and royalties                                                                   $               0.00




Official Form 122A-1                                    Chapter 7 Statement of Your Current Monthly Income                                                              page 1
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Debtor 1      Danelle Elaine Chapman                                                              Case number {if known)




                                                                                                 Column A                  Column B
                                                                                                 Debtor 1                  Debtor 2 or
                                                                                                                           non-filing spouse
  8. Unemployment compensation                                                                                  0.00       $
      Do not enter the amount if you contend that the amount received was a benefit under
      the Social Security Act. Instead, list It here:
           For you                                                 $               2,288.50
           For your spouse                                         $
  9. Pension or retirement income. Do not Include any amount received that was a
     benefit under the Social Security Act.                                                                     0.00       $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not Include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or International or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
                                                                                                                0.00       $
                                                                                                                0.00       $
                 Total amounts from separate pages. If any.                                                     0.00       $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
       each column. Then add the total for Column A to the total for Column B.
                                                                                                    0.00                                              0.00


                                                                                                                                         Total current monthly
                                                                                                                                         income

               Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly Income from line 11                                         Copy line 11 here=>                           0.00


              Multiply by 12 (the number of months In a year)                                                                             X 12

       12b. The result Is your annual Income for this part of the form                                                           12b.                 0.00


  13. Calculate the median family income that applies to you. Follow these steps:

       Fill In the state In which you live.                                 OA


       Fill In the number of people In your household.                        1

      Fill In the median family Income for your state and size of household.                                                     13.           57,962.00
      To find a list of applicable median Income amounts, go online using the link specified In the separate Instructions
      for this form. This list may also be available at the bankruptcy clerk's office.

  14. How do the lines compare?

       14a. • Line 12b Is less than or equal to line 13. On the top of page 1, check box 1, There Is no presumption ofabuse.
                      Go to Part 3.
       14b.     □     Line 12b Is more than line 13. On the top of page 1, check box 2, The presumption of abuse Is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.

                Sign Below
           C^By slgnijig here, I declare under penalty of perjury that the Information on this statement and In any attachments Is true and correct.


                Danelle Elaine Chapman
                Signature of Debtor 1
           Date June 19, 2019
                MM/DD /YYYY

              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file It with this form.




Official Form 122A-1                                     Chapter 7 Statement of Your Current Monthly Income                                             page 2
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Attorney or Party Name, Address, Telephone & FAX Nos.,                           FOR COURT USE ONLY

State Bar No. & Email Address
Daniel King
3435 Wilshire Blvd
Suite 1111
Los Angeies, CA 90010
213-388-3887 Fax: 213-388-1744
California State Bar Number: 207911 CA
dking@theattorneygroup.com




□ Debtor(s) appearing without an attorney
■ Attorney for Debtor

                                                   UNITED STATES BANKRUPTCY COURT
                                                    CENTRAL DISTRICT OF CALIFORNIA


In re:
                                                                                  CASE NO.:
            Daneile Elaine Chapman
                                                                                  CHAPTER: 7




                                                                                                      VERIFICATION OF MASTER
                                                                                                     MAILING LIST OF CREDITORS

                                                                                                                   [LBR 1007-1(3)]

                                                              Debtor(s).

Pursuant to LBR 1007-1 (a), the Debtor, or the Debtor's attorney if applicable, certifies under penalty of perjury that the
master mailing list of creditors filed In this bankruptcy case, consisting of 3 sheet(s) is complete, correct, and
consistent with the Debtor's schedules and I/we assume all responsibility for errors and omissions.

Date:    June 19, 2019                                                                   is! Daneile Elaine Chapman
                                                                                         Si^ature of Debtor 1
                                                                                   r
Date:
                                                                                         Sighafure of Debtor 2 \joint debtor)) (if applicable)

Date:    June 19, 2019                                                                   is! Daniel King
                                                                                         Signature of Attorney for Debtor (if applicable)




                  This form is optionai. it has been approved for use in the United States Bankruptcy Court for the Centrai District of Caiifornia.
December 2015                                                                                      F 1007-1 .MAILING.LIST.VERIFICATION
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                    Danelle Elaine Chapman
                    1845 Monrovia Ave #12
                    Costa Mesa, CA 92627


                    Daniel King
                    The Attorney Group
                    3435 Wilshire Blvd
                    Suite 1111
                    Los Angeles, CA 90010


                    Account Management Ser
                    6101 Ball Rd Ste 207
                    Cypress, CA 90630


                    Barclays Bank Delaware
                    P.O. Box 8803
                    Wilmington, DE 19899


                    Capital One
                    15000 Capital One Dr
                    Richmond, VA 23238


                    Carnical Cruise Line MC




                    CashNet




                    Cmre. 877-572-7555
                    3075 E Imperial Hwy Ste
                    Brea, CA 92821
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                    Comenitybank/brylaneho
                    Po Box 182789
                    Columbus, OH 43218


                    Credit One Bank Na
                    Po Box 98875
                    Las Vegas, NV 89193


                    First Premier Bank
                    601 S Minnesota Ave
                    Sioux Falls, SD 57104


                    Grant&weber
                    26610 West Agoura Rd Ste
                    Calabasas, OA 91302


                    K. Jordan




                    Masseys




                    Merrick Bank Corp
                    Po Box 9201
                    Old Bethpage, NY 11804


                    Montgomery Ward
                    1112 7th Ave
                    Monroe, WI 53566
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                    National Credit System
                    3750 Naturally Fresh Blv
                    Atlanta, GA 30349


                    Pasadena Plastic Surgery



                    Progressive Mgmt Syste
                    1521 W Cameron Ave Fl 1
                    West Covina, CA 91790


                    Publishers Clearinghouse



                    Syncb/walmart
                    Po Box 965024
                    Orlando, FL 32896


                    United Resource Systems



                    Webbank/fingerhut
                    6250 Ridgewood Road
                    Saint Cloud, MN 56303
